 Case 1:16-cv-01018-PLM-PJG ECF No. 45 filed 02/17/17 PageID.168 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


JAMES HARKEN,

               Plaintiff,                                     Hon. Paul L. Maloney

v.                                                            Case No. 1:16-cv-01018-PLM-PJG

CITY OF LANSING,

            Defendant.
_________________________________/

                            REPORT AND RECOMMENDATION

       The Court conducted a hearing today on plaintiff’s motions to extend discovery deadlines.

(Minutes, ECF No. 44). During this hearing, plaintiff acknowledged to the Court on the record the

following:

       1.      That he has no constitutional right to privacy with respect to children playing
               in the public street in front of his home;

       2.      That, without such a constitutional right to privacy, he has no cause of action
               against the City of Lansing; and

       3.      That the relevant City of Lansing ordinance does not prohibit outright
               children from playing in the street.1




               1
                 The city ordinance simply prohibits children’s play from interfering with the flow of
traffic. The ordinance provides: “No minor shall engage in playing any game or congregate on any
street or alley so as to interfere with the regular flow of vehicular traffic.” Ordinance No. 739
(12/22/86), Code of Ordinances § 650.04, found at
https://www.municode.com/library/mi/lansing/codes/code_of_ordinances?nodeid=COOR_PT6GEO
FCO_CH650MI_650.04PLST (last viewed February 17, 2017).
 Case 1:16-cv-01018-PLM-PJG ECF No. 45 filed 02/17/17 PageID.169 Page 2 of 2



       Plaintiff’s statements effectively constitute a concession that his complaint fails to state a

claim upon which relief can be granted. Accordingly, I recommend that his case be dismissed

pursuant to Federal Rule of Civil Procedure 12(b)(6). Continued prosecution of this case under

these circumstances may subject plaintiff to sanctions. See FED. R. CIV. P. 11(b)(2), 11(c).


                                                              Respectfully submitted,


Date: February 17, 2017                                        /s/ Phillip J. Green
                                                              PHILLIP J. GREEN
                                                              United States Magistrate Judge


                                    NOTICE TO PARTIES

         Any objections to this Report and Recommendation must be filed and served within
fourteen days of service of this notice on you. 28 U.S.C. § 636(b)(1)(C); FED. R. CIV. P. 72(b).
All objections and responses to objections are governed by W.D. MICH. LCIVR 72.3(b). Failure
to file timely and specific objections may constitute a waiver of any further right of appeal. See
Thomas v. Arn, 474 U.S. 140 (1985); Keeling v. Warden, Lebanon Corr. Inst., 673 F.3d 452, 458
(6th Cir. 2012); United States v. Branch, 537 F.3d 582, 587 (6th Cir. 2008). General objections
do not suffice. See McClanahan v. Comm’r of Social Security, 474 F.3d 830, 837 (6th Cir.
2006); Frontier Ins. Co. v. Blaty, 454 F.3d 590, 596-97 (6th Cir. 2006).




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